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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                   )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                              )
                                               )      Judge Dan Aaron Polster
THIS DOCUMENT RELATES TO:                      )
                                               )
All Cases                                      )
                                               )      ORDER REGARDING MOTION FOR
                                               )      RECONSIDERATION
                                               )

       On February 24, 2025, the PBMs moved this Court to order the disclosure of all ex parte

communications between plaintiffs’ counsel and the Court, the Special Masters, and their staff.

Docket no. 5968. The basis for this extraordinary request was the PBMs’ discovery that plaintiffs’

attorney Michael Kahn, during a 2019 presentation soliciting a subdivision client for Opioid

litigation, stated (among other things) that plaintiffs’ liaison counsel, Peter Weinberger, had “total

access to” the undersigned and engaged in frequent ex parte communications with this Court.

       The Court denied the PBMs’ motion to order the disclosure of all ex parte communications

between plaintiffs’ counsel and the Court; however, the Court did immediately set an evidentiary

hearing for March 12, 2025, and ordered Mr. Kahn to appear in person to testify.

       The PBMs now move for reconsideration of the denial of their earlier request for disclosure

of ex parte communications (docket no. 5999). The motion for reconsideration is DENIED.

       Mr. Kahn’s public statements are unsupported hearsay. The PBMs have certainly

demonstrated a need to question Mr. Kahn under oath regarding his statements, and the Court has
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scheduled a hearing to do so on March 12, 2024. But Mr. Kahn’s bald, unsworn statements are an

insufficient basis to enter the sweeping order the PBMs seek. If Mr. Kahn’s testimony demonstrates

a basis for questioning any additional witnesses, or to order the production of any documents or

communications, the Court will take appropriate action at that time.

       The Court also denies the PBMs’ request, made for the first time in their motion for

reconsideration, that another judge conduct the March 12 hearing. The Court intends to examine Mr.

Kahn thoroughly, and counsel for both sides will have a full opportunity to ask follow up questions.

       IT IS SO ORDERED.
                                                     /s/ Dan Aaron Polster
                                                     DAN AARON POLSTER
                                                     UNITED STATES DISTRICT JUDGE

Dated: March 5, 2025




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